                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE

JIMMIE and BRANDIE ZAPPIER,               )
individually, as parents and next of kin of
                                          )
ANTHONY ZAPPIER, deceased, and as         )
Co-Administrators of the ESTATE of        )
ANTHONY ZAPPIER,                          )
                                          )
                  Plaintiffs,             )
                                          )
v.                                        )     NO. _______________________
                                          )
HAMBLEN COUNTY, Tennessee,                )     Jury of Twelve Demanded
a governmental entity;                    )
ESCO R. JARNAGIN, individually;           )
DEWEY EDWARD HORNER, Jr.,                 )
individually; and                         )
JOHN and JANE DOES 1-5, individually,     )
                                          )
                  Defendants.             )
______________________________________________________________________________

COMPLAINT FOR CIVIL RIGHTS VIOLATIONS AND WRONGFUL DEATH
______________________________________________________________________________

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      COMES Jimmie and Brandie Zappier, individually, as parents and next of kin

of Anthony Zappier, Deceased, and as Co-administrators of the Estate of Anthony

Zappier (“Plaintiffs”), and file this Complaint against the Defendants, Hamblen

County, Tennessee, a governmental entity (the “County”); Esco R. Jarnagin, Hamblen

County Sheriff, individually (“Sheriff Jarnagin”); Deputy Dewey Edward Horner, Jr.,

individually (“Dep. Horner”), and John and Jane Does 1-5, individually (“Doe

Defendants”) (collectively, “Defendants”).

                              I. NATURE OF ACTION

      1.     This action arises out of the reckless and cavalier actions of Hamblen

County Deputy Sheriff Dewey Edward Horner, Jr. (“Dep. Horner” or “Dep. Eddie

Horner”) that resulted in the wrongful death of 19-year old Anthony Zappier

(“Anthony”) in what was nothing short of an execution.

      2.     In the dark early morning hours of October 25, 2019, several residents of

Morristown’s Wuthering Heights neighborhood called “911” to variously report: a

“suspicious person yelling and cursing,” a “prowler with a gun and/or laser pointer,” or

a vehicle in a yard and a “car crash.” Dep. Eddie Horner responded and made his way

to the location. In route, he received a radio transmission that the suspect had a laser-

pointer or a gun with a laser-sight. He radioed for backup.

      3.     Dep. Horner was the first to arrive at the Heathcliff Road home of Steve

and Carrie Amos, from which at least one of the 911 calls had originated. Dep. Horner

pulled into the Amos’s lower driveway and quickly spotted a young Caucasian male –




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later identified as Anthony – in the Amos’s backyard, walking toward the road. Dep.

Horner parked his cruiser (leaving the engine running), turned on his scene-lights,

shined his spotlight on Anthony, and approached Anthony.

      4.     Five minutes and twenty-one seconds (5:21) later, Anthony would be dead

of multiple gunshot wounds to the head and chest, the victim of a senseless fatal

shooting – tantamount to an execution – by Dep. Horner, subsequently sanctioned by

the Tennessee Bureau of Investigation (“TBI”), the County, and Sheriff Jarnagin.

      5.     Before he killed Anthony, however, Dep. Horner had countless

opportunities to de-escalate a non-violent situation. Upon initially exiting his cruiser,

Dep. Horner’s body-cam video recording shows the tall, lanky Anthony standing

shirtless – unclothed except for a pair of boxer-type shorts and flip-flops – his arms

raised. Dropping to his knees, the undeniably distraught teenager repeatedly pleads

with Dep. Horner to get his father on the phone (“Please, I’m asking politely, please”).

      6.     Dep. Horner paid little attention to Anthony’s plea, and instead

approached Anthony to check him for weapons. Anthony acceded, remaining on his

knees, his back to Dep. Horner. Then, Dep. Horner noticed a pistol on the ground

behind Anthony, picked it up, pulled out his Taser, and threw the gun as far away as

he could. When Anthony suddenly turned toward Dep. Horner, Dep. Horner said “stop”

and aimed his Taser at the unarmed teenager – who was on his back and pleading with

Dep. Horner to help him. But Dep. Horner had already made up his mind, and

although Anthony appeared to pose no threat to him, Dep. Horner proceeded to fire his




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Taser “two or three times” at Anthony,1 kick him in the back/head, jump on the

defenseless teenager’s back, and then pepper-spray him.2

      7.     Tased multiple times, kicked to the ground, and strong-armed, Anthony

was eventually able to free himself from underneath the much larger and stronger man

who was also armed to the hilt, and fled on-foot toward the road, pursued by Dep.

Horner. Anthony soon reached Dep. Horner’s unlocked and still-running cruiser in the

Amos’s driveway, as Dep. Horner continued to try to pepper-spray him. Anthony was

able to climb into the driver’s seat, while Dep. Horner got into the passenger-side with

his knees in the seat and facing Anthony, as the cruiser moved into the backyard.

      8.     After the cruiser had traveled a short distance (about 500 feet), Dep.

Horner pointed his 9-mm Glock 17 at Anthony and fired from point-blank range, as

shown by the recorded muzzle-flash. Anthony’s body convulsed, he screamed “no,” and

then quickly lost control of the cruiser, which went through a plastic boundary-fence

and into a plowed dirt field, slowing to a stop in thick brush. Gunshot, Anthony




      1
        Under optimal conditions and deployment, a Taser X26P shoots 2 darts
attached to 25 feet of wire and carrying 50,000 volts. By comparison, static
electrical charges of 25,000 volts are not uncommon from door knobs, filing
cabinets, or other metal objects.
      2
        Following Anthony’s death, Dep. Horner implied that he had feared for his
safety. There is no basis in fact for such fear. Anthony weighed less than 160
pounds and, stripped to his waist, wearing only boxer-type shorts, was clearly
unarmed. In contrast, Dep. Horner was a well-armed HCSO deputy, wielding an
array of weapons, including a baton, pepper-spray, a Taser, and a duty weapon (a 9
mm Glock 17). What’s more, if Dep. Horner considered Anthony to be a threat at
this stage, he could have waited for the back-up he had told to “step it up.” He also
could have tried to use de-escalation skills, but did not.

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instinctively tried to shield himself from further bullets with his bare hand, as he saw

Dep. Horner trying to fire at him again. But Dep. Horner’s gun jammed, prompting

him to vigorously rack the slide to clear the gun so he could fire again. By this point,

the cruiser had stopped and Dep. Horner was standing outside. At that moment, he

extends the gun into the cruiser and fires two or three more rounds, striking Anthony

twice and killing him instantly.

      9.     From the moment he tased Anthony until he fatally shot him about two

minutes later, Dep. Horner actions unnecessarily, unreasonably, and recklessly

escalated a non-violent situation into a volatile confrontation, and then a deadly one.

Video evidence makes clear that there was no legitimate or justifiable reason for Dep.

Horner to escalate the situation, much less to tase the teenager, kick him, strong-

armed him, shoot him at point-blank range, and then execute him when he posed no

threat or danger to anyone.

      10.    In all, Dep. Horner shot Anthony three times. According to the Regional

Medical Examiner’s autopsy, two of the shots were rapidly fatal (one went through the

top of Anthony’s head near the crown, another traveled through his chest, piercing his

lungs and heart), while the third bullet traveled through Anthony’s maxilla and exited

through the helix.

      11.    After the shooting, at the request of the District Attorney for the Third

Judicial District, the Tennessee Bureau of Investigation (“TBI”) conducted an

investigation. The agency made no official recommendation, but merely turned its

findings over to a Hamblen County Grand Jury, which predictably concluded, based

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upon the TBI’s investigative file, that Dep. Horner had “followed law enforcement

protocols.” In short, the TBI made numerous material findings that appear to be

largely at odds with video and other evidence, particularly its findings:

             # that Dep. Horner “was dragged” when Anthony was
             driving the cruiser (he was not);

             # that Anthony “grabbed” or gained control of Dep. Horner’s
             Glock 17 in the cruiser (he did not); and

             # that Dep. Horner “fired three rounds striking [Mr.]
             Zappier in the head and chest” (this is misleading, as Dep.
             Horner initially fired once, seriously wounding Anthony,
             then his gun jammed, prompting him to rack the slide
             several times and clear it, by which time he was outside of
             the cruiser, where he fired two more rounds into Anthony.

      12.    The TBI also found no fault in Dep. Horner’s multiple tasing of a

defenseless Anthony as he laid on the ground and begged for help; or in Dep. Horner

kicking the teenager down to the ground; or that Dep. Horner jumped on Anthony’s

back and forearmed his neck so hard his face smashed into the ground; or that Dep.

Horner tried to pepper-spray Anthony, seemingly at every opportunity.

      13.    Dep. Horner could have made a serious effort to talk to Anthony, but he

didn’t. Although he recognized that Anthony was “distraught,” he chose to ignore his

distress, opting for a confrontation. Dep. Horner could have also waited for back-up,

as they were moments away (they arrived about a minute after the shooting), but he

didn’t. If he had only been adequately trained to employ de-escalation techniques or

alternatives to force, Anthony might still be alive.




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      14.    From the moment he approached Anthony, Dep. Horner’s actions

repeatedly escalated the situation until he shot and killed Anthony, including shooting

him twice after Dep. Horner had jumped safely out of the cruiser, as Anthony sat –

gunshot and bleeding – in the driver’s seat.

      15.    Besides all of this, it is astounding that at no point during his five-minute

and twenty-one second (5:21)-encounter with Anthony did Dep. Horner ever warn the

teenager that he was going to use force on him. He did not warn Anthony that he was

going to tase him. He did not warn Anthony that he, a much larger man, was going to

try to physically subdue him. He did not warn Anthony that he was going to pepper-

spray him. And most importantly, Dep. Horner failed to warn Anthony that he was

going to shoot him – on either occasion.

      16.    When Dep. Horner aimed his Taser at Anthony, the teenager posed no

imminent threat of danger to him. Any later threat was a result of Dep. Horner’s

reckless actions, e.g., jumping into the passenger’s side of the moving cruiser.

Accordingly, Dep. Horner’s use of deadly force can hardly be considered reasonable.

      17.    A reasonable, trained, skilled, or proficient officer in Dep. Horner’s

circumstances would not have believed deadly force was necessary, or that it was

measured or patterned for the circumstances presented. The unconstitutional

consequences of failing to train and supervise deputies in the reasonable use-of-force,

including deadly force, are so patently obvious that the County is liable under § 1983.

      18.    Among other rights possessed by Anthony, “[i]t has been clearly

established in this circuit for some time that ‘individuals have a right not to be shot

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  unless they are perceived as posing a threat to officers or others.’” Ciminillo v.

  Streicher, 434 F.3d 461, 465-66 (6th Cir. 2006). Here, an unarmed, gunshot, and

  seriously-wounded teenager posed no threat to anyone as he sat bleeding in the driver’s

  seat of Dep. Horner’s cruiser. Yet, Dep. Horner shot Anthony twice after he had

  withdrawn to safety.

         19.    Nor may an officer escalate force where an arrestee is complying. Sample

  v. Bailey, 409 F.3d 689, 700 (6th Cir. 2005). When a suspect’s hands are free and he

  has “done no more than made a minor stubbornness,” the Sixth Circuit has held that

  it is excessive for an officer to restrain the suspect “by tackling, stepping on, and

  punching him.” Malory v. Whiting, 489 F. App’x 78, 85 (6th Cir. 2012)). Here, Anthony

  was distraught – and although pleading for help – was obeying Dep. Horner’s screamed

  and fairly unintelligible commands as best as he could – as he laid on his back on the

  ground. Finally, to the extent Dep. Horner suggests that discovery of the gun behind

  Anthony justified his use of the Taser, etc., precedent in this Circuit clearly holds that

  an officer must encounter some level of resistance (beyond a minor stubbornness) to

  justify using a taser. The mere possession of a gun is not, in and of itself, “resistance,”

  unless coupled with something more, e.g., physical or verbal action. Correa v. Simone,

  528 Fed App’x 531, 535-36 (6th Cir. 2013). At the moment Dep. Horner began

  repeatedly tasing Anthony and kicked him to the ground, the teenager’s level of

  resistance, if any, was negligible, at most.

         20.    At the point in which Dep. Horner tased Anthony, the teenager was

  suspected, at most, of trespassing, a Class C misdemeanor. He was unarmed and

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  wearing nothing but boxer-like shorts and flip-flops. He was on his back on the ground,

  as Dep. Horner had demanded, pleading for Dep. Horner’s help. At this moment, as

  video shows, a distraught Anthony presented a danger to no one.

        21.    Defendants, acting under color of law, deprived Anthony of his

  constitutional rights under the Fourth Amendment and caused his wrongful death. By

  this action, brought under 42 U.S.C. § 1983 and Tennessee law, Plaintiffs make the

  following claims:

               #      Count One – 42 U.S.C. § 1983 – various instances of
                      excessive use-of-force by Dep. Horner against
                      Anthony under the Fourth and Fourteenth
                      Amendments;

               #      Count Two – 42 U.S.C. § 1983 – failure of the County
                      and Sheriff Jarnagin to properly train and supervise
                      deputies with respect to the use of force, including
                      deadly force;

               #      Count Three – wrongful death;

               #      Count Four – battery;

               #      Count Five – negligence; and

               #      Count Six – intentional infliction of emotional
                      distress.

        22.    Plaintiffs seek all compensatory damages available to them and Anthony’s

  Estate, including, but not limited to, damages for (a) excruciating physical pain and

  suffering before Anthony’s death; (b) severe emotional suffering and mental anguish,

  despair, and hopelessness before Anthony’s death; (c) lost-earnings and/or loss of

  earning capacity in the future based on the probable duration of Anthony’s life if the


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  death had not occurred; (d) loss of the enjoyment of the remainder of the probable

  duration of Anthony’s life if the death had not occurred; (e) funeral and burial

  expenses, all of which are recoverable by Anthony’s Estate, through the Plaintiffs; and

  (f) loss of consortium or society by Plaintiffs, individually, as Anthony’s parents.

  Plaintiffs further request punitive damages against Dep. Horner, individually, as well

  as attorneys’ fees, costs, expenses, and all other available and appropriate relief.

                          II. JURISDICTION AND VENUE

        23.    This civil action is brought to redress alleged deprivations of

  constitutional rights as protected by 42 U.S.C. §§ 1983, 1988, and the Fourth and

  Fourteenth Amendments of the United States Constitution, and for violations of

  related Tennessee common law torts. Original jurisdiction is founded on 28 U.S.C. §§

  1331 and 1343.

        24.    This Court also has supplemental jurisdiction over any claims brought

  under Tennessee law, pursuant to 28 U.S.C. §1367, as such claims are so related to

  claims in the action within the original jurisdiction of this Court that they form part

  of the same case or controversy under Article III of the Constitution.

        25.    Venue is proper in this Court under 28 U.S.C. § 1391(b), as all incidents,

  events, and occurrences giving rise to the action occurred in Hamblen County, within

  the Northeastern Division of the Eastern District of Tennessee.




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                                     III. PARTIES

        A.     Plaintiffs

        26.    Anthony Zappier was a citizen and resident of Jefferson County at the

  time of his death. Anthony’s parents, Plaintiffs Jimmie Zappier and Brandie Zappier,

  are the lawful and duly-appointed Co-Administrators and personal representatives of

  their son’s Estate, appointed as such by the Probate Division of the Chancery Court for

  Jeffferson County, Tennessee, by order dated October 23, 2020.3

        27.    Plaintiffs also bring this action individually, as Anthony’s parents and

  next of kin, to recover for loss of Anthony’s consortium or society. During all relevant

  times, Plaintiffs have been citizens and residents of Jefferson County, Tennessee.

        B.     Defendants

        28.    Defendant, Hamblen County (the “County”) is a governmental entity and

  political subdivision of the State of Tennessee, duly organized. It may be served

  through its chief executive officer, Mayor Bill Brittain, at the Hamblen County

  Courthouse, 511 West Second North Street, Morristown, TN 37814. The County

  possessed the power and authority to adopt policies and prescribe rules, regulations,

  and practices affecting all facets of the training, supervision, control, employment,

  assignment, and removal of individual members of the Hamblen County Sheriff’s Office




        3
         Anthony was unmarried, was not survived by a spouse, and he had no
  children.

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  (“HCSO”), and to assure that actions, policies, rules, regulations, practices and

  procedures of the HCSO and its employees comply with the laws and constitutions of

  the United States and Tennessee.

        29.    The County is responsible for training and certifying its law enforcement

  employees and implementing procedur0s and protocols to honor and respect the Due

  Process rights of citizens with whom its law enforcement employees interact.

        30.    In this case, the County and the HCSO acted through their agents,

  employees, and servants, including policymakers like Defendant, Sheriff Esco R.

  Jarnagin (“Sheriff Jarnagin”), who is sued herein in his individual capacity and as

  principal on his official bond. At all times material hereto, Sheriff Jarnagin was

  operating under color of law. Sheriff Jarnagin is, upon information and belief, a citizen

  and resident of Hamblen County and may be served at the Hamblen County Sheriff’s

  Office, 510 Allison St Morristown, Tennessee 37814-4057.

        31.    At all times material hereto, Sheriff Jarnagin was the duly elected County

  Sheriff, responsible for the screening, hiring, firing, training and the supervision of

  HCSO employees, including approximately forty-five (45) deputies.

        32.    At all times material hereto, Sheriff Jarnagin also possessed the power

  and authority and was charged by law with the responsibility to enact policies and to

  prescribe rules and practices concerning the use of force, including the use of firearms

  and deadly force, by HCSO deputies.

        33.    At all relevant times, Defendant, Dewey Edward Horner, Jr. (“Dep. Eddie

  Horner” or “Dep. Horner”), was employed by the HCSO as a deputy. Dep. Horner is

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  sued in his individual capacity and as principal on his official bond. At all relevant

  times, Dep. Horner was operating under color of law. Dep. Horner is, upon information

  and belief, a citizen and resident of Hamblen County and may be served with process

  at the Hamblen County Sheriff’s Office, 510 Allison Street, Morristown, TN 37814.

        34.    Plaintiffs also sue fictitious Defendants, referred to herein as John and

  Jane Does 1-5, as their true identities and/or capacities and/or other facts showing

  their culpability are presently unknown. These Defendants are also sued in their

  individual capacities as HCSO employees or deputies, and as principals on their official

  bonds, if any.4

        35.    Various persons not made Defendants, including County or HCSO

  officials, have participated in violations asserted herein and performed acts or made

  statements in furtherance thereof. Plaintiffs reserve the right to name some or all of

  these persons as Defendants, as they become known.




        4
         Under Rules 4(m) and 15(c) of the Federal Rules of Civil Procedure,
  Plaintiffs may seek leave of Court to amend their Complaint to set forth the true
  names and capacities of such Defendants once their identities are ascertained.

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                           IV. FACTUAL ALLEGATIONS5

        A.     A “Typical Teenager” With Big Plans for Himself.

        36.    Anthony Zappier (“Anthony”) was a typical teenager, just nineteen (19)

  years old when he was shot and killed by HCSO Dep. Eddie Horner on October 25,

  2019. Anthony had been diagnosed with bipolar disorder, but was not medicated for it.

  He had loving parents and three siblings, and they were a close-knit family. His family

  and friends characterized Anthony as very giving and vibrant, having an infectious

  smile and seemingly boundless energy. He had graduated from high school and was

  looking forward to continuing his education.

        37.    Anthony was competitive, enjoying and excelling in athletics, including

  soccer, track, cross-country, basketball, and football. He grew up around his family’s

  pizzaria business – Anthony’s Pizza & Subs, Inc. – and worked there part-time when

  he was in school. Since graduating, Anthony had been working longer hours, learning

  the business-end of his family’s restaurants.




        5
          The allegations set forth herein are derived from multiple sources, including,
  but not limited to, interviews with multiple witnesses, the Tennessee Bureau of
  Investigation (“TBI”) investigative file, including incident reports, body-cam
  video(s), preliminary and final autopsy reports from the Regional Medical
  Examiner’s Office (Knox County), scene photographs, diagrams, and drawings,
  witness interview audio-files, transcripts, or summaries, forensic function and
  toxicology reports, and other documentary or forensic evidence, lists, or inventories
  produced by the TBI. Counsel represented Plaintiffs in obtaining appointments as
  personal representatives of their son’s Estate. They also reviewed media reports,
  social media reports and pages, responses to their public records requests, various
  maps, and Grand Jury proceeding results. Lastly, the undersigned also interviewed
  several members of Anthony’s family, and a number of his friends.

                                           -13-


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        38.    Working in the family business instilled family values in Anthony, as he

  realized the virtue and benefits reaped by hard work. It also allowed Anthony to

  appreciate what it meant to serve your community. Eventually, Jimmie and Brandie,

  Anthony’s parents, planned for their son to take over the business. They recognized

  Anthony as highly-motivated, as he had set a number of life-goals for himself. Jimmie

  and Brandie had big plans for their son, and he certainly had big plans for himself.

        B.     October 24, 20189: Hanging Out With Family and Friends

        39.    Early in the afternoon of October 24, 2019, Anthony and a close friend had

  driven to Knoxville to visit Anthony’s sister and her boyfriend. The two young men had

  returned to Morristown by around 8:00 p.m. that evening.6

        40.    At around 1:00 a.m. in the early morning of October 25, 2019, Anthony

  and four of his friends visited another friend’s house in Morristown’s Wuthering

  Heights community. The teenagers played video games, as they were “chilling out,

  talking, and listening to music” in the family’s basement, chaperoned by the friend’s

  parents, who were at home and upstairs. Ultimately, all of the friends, except Anthony,




        6
         Anthony’s friend made it very clear that he did not observe Anthony
  drinking alcohol or using drugs of any kind while they were together for about
  seven or so hours on that day, at least up until about 8:00 p.m. that evening. He did
  not see Anthony again until about five hours later (approximately 1:00 a.m.) on the
  following morning, October 25, 2019, the final few hours of Anthony’s life.

                                           -14-


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  spent the night. Anthony visited for about 20 minutes, but left the house by about 1:30

  a.m.7 For the next four hours, until about 5:30 a.m., nothing is known of Anthony’s

  whereabouts or actions.

        C.     Multiple 911 Calls Reported a Man Screaming In a
               Backyard, Asking for Help.

        41.    Between 4:00-5:00 a.m. in the dark early morning hours of October 25,

  2019, JC Morgan heard a “thump” outside his home in Wuthering Heights. Mr. Morgan

  assumed that a vehicle had driven over the curb and entered a field below his home.

  He next heard “someone cussing and screaming out the name Kate.” Mr. Morgan’s

  wife, Pamela, heard a noise at the same time. She said it sounded like a car accident

  close to her house. Like her husband, Mrs. Morgan also heard a lot of screaming. She

  went outside and saw a man “screaming and acting like he was talking to someone.”

  The man told her to call 911 and told her that he needed help. Naturally, Mrs. Morgan

  immediately called 911.8

        42.    Soon after Mrs. Morgan called 911, the Morgans observed an officer arrive

  in a patrol car, get out, and walk towards the man who had been screaming. The man

  told the officer not to come any closer, but repeatedly asked him to call his dad. By

  then, according to the Morgans, the man was standing shirtless with his hands up in




        7
         Counsel has interviewed two of Anthony’s friends who were present at the
  house and both stated that Anthony was neither intoxicated nor “high” on drugs of
  any kind when he left the house a little before 1:30 a.m.
        8
        Mr. Morgan recalled that “he could see that the subject had a laser in his
  hand that he thought was a laser pointer or a laser sight mounted onto a gun.”

                                           -15-


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  the air. The man eventually got on his knees, and kept his hands up. The Morgans

  believed the man was very agitated, and noticed that he continued to tell the officer to

  call his dad. According to Mrs. Morgan, “when the officer got close to him, a scuffle

  happened” and she “heard a Taser.” The Morgans “heard three shots,” but Mrs. Morgan

  did not see any guns.

        43.    Steve and Carrie Amos lived on the 3000 block of Heathcliff Road in

  Wuthering Heights. In the early morning hours of October 25, 2019, Mrs. Amos woke

  up to hear someone shouting outside her house. She woke up her husband. Both of

  them could hear someone shouting profanities and saying things like “someone should

  call 911” and calling for “Jesse.” Mr. Amos called 911, went to the window, and

  watched the man in his lower driveway walking toward the back of his house.9

        44.    Moments later, Mr. Amos saw an officer arrive and park his cruiser in the

  Amos’s lower driveway. The officer was giving the man verbal commands. The man

  was initially compliant. “As the officer approached, the suspect turned around and

  started yelling at the officer telling him not to come towards him and to call his dad.”

  Mr. Amos said, “the officer picked up a phone off the ground and when he did the

  suspect turned towards the officer.” According to Mr. Amos, “when the officer

  approached to put the suspect in handcuffs, the suspect jumped up and the officer

  deployed his taser.” Then, a “scuffle” occurred, and he saw “the cruiser take off into the

  grass.” He lost sight of it as it drove through the field. He did not hear gun shots.


        9
         Like his neighbor, Mr. Morgan, Mr. Amos also “saw a laser light and thought
  the person might have a pistol.”

                                             -16-


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        D.     Dep. Horner Responded, Approached a Distraught
               Anthony, and Immediately Escalated the Situation by
               Tasing the Teenager, As He Was Unarmed and Defenseless
               On His Back.

        45.    At about 5:30 a.m., on October 25, 2019, Dep. Eddie Horner received word

  on his radio of the 911 calls. As he was about four or five minutes away from

  Wuthering Heights, he responded and made his way there. Along the way, he heard

  dispatch say “something about a possible firearm.” He radioed for backup to assist him.

        46.    Dep. Horner arrived at the scene and pulled into the Amos’s lower

  driveway and parked.10 From there, he spotted 19-year old Anthony Zappier in the

  Amos’s backyard, walking toward the road. In an interview, Dep. Horner told TBI

  Special Agent Erica Stoner (“SA Stoner”) that once Anthony saw him, he “takes his

  shirt off and throws his hands up.” Dep. Horner exited his cruiser, reached back in and

  activated his scene-lights, fixed his spotlight on Anthony, and shut the car door. As he

  did this, he told Anthony to “keep your hands up” and “face your car.”11




        10
          As he pulled into the driveway, Dep. Horner’s body-cam video was activated.
  The video last twenty-five minutes and twenty-three seconds (25:23), stopping when
  Dep. Horner de-activates his body-cam video. Most of the factual allegations herein
  can be accurately tracked on the video by identifying the minute and second on the
  video counter where the referenced action occurs. E.g., as Dep. Horner pulls into the
  the driveway, the counter starts at 00:01.
        11
           Based upon photos and diagrams of the scene, Anthony was about 120 or so
  feet away from Dep. Horner’s cruiser, which was parked in the driveway. Anthony’s
  Ford Fusion was parked about 300 feet away from the driveway and about 120 feet
  behind Anthony in the backyard or field, Anthony having apparently pulled off into
  the field from the road (according to visible tire tracks).

                                            -17-


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        47.    At 00:50 of the video, Dep. Horner started to approach Anthony. The video

  reveals a shirtless, young Caucasian male – wearing white boxer-like shorts and what

  appears to be flip-flops – with his hands raised in the air. Dep. Horner said, “let me

  make sure that you're okay.” Anthony responded, “Ok, I'm okay.”12

        48.    As Dep. Horner continued to walk toward him, Anthony, still on his

  knees, pleaded with him to get his father on the phone, saying “please, I’m asking

  politely, please.” According to Dep. Horner, Anthony was behaving “like he don’t even

  know where he was at. Like he was very distraught,” and was “screaming at the top

  of his lungs.”13 Dep. Horner stopped, made a feeble effort to communicate with

  Anthony, and got on his radio to tell his backup to “step it up.”

        49.    Beginning at 2:43 of the video, Dep. Horner started walking closer to

  Anthony, who was still on his knees. All the while, Anthony continued to plead with




        12
            At this point, Anthony’s only offense, if any, was criminal trespass, Tenn.
  Code Ann. § 39-14-405, a Class C misdemeanor. In Tennessee, Class C
  misdemeanors are the least serious misdemeanors, punishable by up to 30 days in
  jail, a fine of up to $50, or both. Tenn. Code Ann. § 40-35-111(e)(3).
        13
           According to Dep. Horner, Anthony appeared to be “on something.” The TBI
  toxicology report indicated that Anthony tested “positive” for cocaine and had
  marijuana in his system. However, while the level of marijuana was quantified,
  according to the Regional Medical Examiner, when the toxicology was done in this
  case, the TBI had changed its policy to no longer quantify the amount of cocaine or
  cocaine metabolites. Instead, the TBI only determines whether cocaine is present.
  Thus, the toxicology report for Anthony only identified some level of cocaine in his
  system, but not how much, or when or how it was ingested. Therefore, the “positive”
  result was not indicative of cocaine use on the day of his death. As far as marijuana
  goes, all the report reveals is that he smoked marijuana within roughly twenty-four
  (24) hours before he died.

                                            -18-


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  Dep. Horner to call his father. Given the circumstances,14 there appeared to be no need

  or other urgency for confronting Anthony at this juncture. Nevertheless, Dep. Horner

  did so, saying, “let me check you for weapons, okay.”

        50.    At about 2:59 of the video, Dep. Horner asked Anthony, “what’s your

  name?” Anthony, still facing away from Dep. Horner, started turning toward him to

  answer, prompting Dep. Horner to tell him, “no, no, no, do not face me, do not face me.”

  At around 3:05, Anthony turned again to face away from Dep. Horner, with his hands

  slightly raised.

        51.    At 3:05, Dep. Horner began to probe around Anthony, and said, “I just

  want to make sure you don’t have any weapons.” At that moment, with his right hand,

  Dep. Horner reached to the ground and picked up what appears to have been a

  handgun (only partially visible). At no time, however – from the moment Dep. Horner




        14
          After all, by the time Dep. Horner exited his cruiser, Anthony was down on
  his knees, hands raised over his head, stripped to his waist, and wearing boxer-like
  shorts and flip-flops that could hardly have concealed a weapon. He was not holding
  a weapon and did not – by any reasonable account – appear to be a threat to the
  well-armed Dep. Horner. Instead, based upon the first few moments of video,
  Anthony – who had been diagnosed as having bipolar disorder – appears to have
  been suffering from some sort of mental or emotional crisis. Even Dep. Horner
  characterized Anthony as “distraught.” There did not appear to be a rational basis
  for confronting Anthony at that moment – much less using any modicum of force or
  arresting him – particularly before backup arrived. Indeed, Dep. Horner never told
  Anthony that he was “under arrest” or said anything of this ilk to SA Stoner.

                                            -19-


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  pulled up to the scene until the moment Dep. Horner killed him – did Anthony ever

  have a handgun in his hand or even threaten to use one.15

        52.       As Dep. Horner continued his probe for weapons, at 3:09, Dep. Horner

  grabbed Anthony’s left arm with his left hand,16 and Anthony, still on his knees, spun

  around and turned to Dep. Horner, and began to get up. Dep. Horner said “stop.”17

        53.       At 3:10, Dep. Horner drew his Taser18 and aimed it at Anthony’s chest, as

  the teenager folded his arms against his chest to protect himself. At 3:12, Anthony

  slowly backed away, raised his arms, and dropped back to his knees, complying with

  Dep. Horner’s commands, just as Dep. Horner’s Taser’s laser-sight beamed on




        15
          Of course, deputies are often forced to make split-second judgments – in
  circumstances that are tense, uncertain, and rapidly evolving – about the amount of
  force that is necessary in a particular situation. For this reason, hindsight is
  usually not a reliable tool in assessing the reasonableness of an officer’s actions.
  Unfortunately, Anthony is dead, unable to contradict Dep. Horner’s own version of
  the events, or explain why he was there, or his state of mind, as Dep. Horner
  repeatedly did in his TBI interview with and statement to SA Stoner. Thus, Dep.
  Horner’s self-serving accounts should be viewed with circumspection.
        16
          Although Dep. Horner asked Anthony if he could “check him for weapons,” a
  request Anthony quickly agreed to, Mr. Amos stated that Dep. Horner attempted to
  handcuff Anthony, and this prompted Anthony to “jump up,” as Dep. Horner had
  said he was only going to “check him for weapons,” not arrest him.
        17
             Dep. Horner radios that Anthony “had a gun on him. I’ve got it.”
        18
          During the 1990s, the TASER was introduced to law enforcement as an
  alternative to deadly force. It became a non-lethal alternative to the use of deadly
  force where the baton was insufficient to control persons. As of 2020, about 94% of
  the country’s roughly 18,000 police agencies now issue TASERs.

                                              -20-


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  Anthony’s stomach and chest. Dep. Horner approached Anthony, inexplicably yelling

  at him to get on the ground (at this point, Anthony was on his back on the ground).

        54.    At 3:14, as Anthony was still on his knees, he instinctively slapped at the

  Taser with his left hand. At 3:16, he turned away from Dep. Horner and – still on his

  knees – puts his hands on the ground, turning over onto his back. At 3:21, Anthony

  turned onto his stomach.19

        55.    At 3:23, Dep. Horner moved closer to Anthony, who was on his back on the

  ground. By this point, Dep. Horner stood menacingly over the slight teenager,

  screaming at him, as Anthony, still on the ground, pleaded with him for help.

        56.    Then, in an eerie preview of what would happen less than two minutes

  later, Dep. Horner told Anthony to “relax.” At 3:31, just as a defenseless Anthony said,

  “please help me, please help me,” Dep. Horner fired his Taser, hitting Anthony, who

  winced and screamed in pain.20


        19
          The TBI summary of the interview with Dep. Horner indicates that he was
  attempting to handcuff and arrest Anthony as Anthony was on the ground. The
  summary indicates that Anthony initially complied with Dep. Horner’s requests to
  get on the ground to allow him to affect his arrest, but “struggled and was able to
  get away,” then struck Dep. Horner in the head/face. However, the video does not
  support this version of events. At no point did Dep. Horner instruct Anthony that he
  was “under arrest.”
        20
            Why did Dep. Horner tase Anthony? He told SA Stoner that Anthony was
  “irate and screaming,” so “I tased him.” Dep. Horner also told SA Stoner, “I see a
  gun . . . so, I pulled my Taser and grabbed the gun, and I’m telling him to get on the
  ground, get on the ground, and he’s not listening. So, I tase him and I chuck that
  pistol. I throw it as far as I can throw it.” As to why Dep. Horner tased Anthony
  after he had disposed of the gun, Dep. Horner’s explanation made little sense. In his
  formal written statement to the TBI, he said: “I’m trying to calm him down as I
  approach, and finally get him calmed down enough to ask him if I can search him
  for weapons. He agrees and gets on the ground. I walked up behind him and saw a

                                            -21-


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        E.     Dep. Horner Kicked Anthony in the Back, Jumped On Top
               of Him, Used His Forearm Against the Back of Anthony’s
               Neck to Smash His Face Into the Ground, Then Repeatedly
               Pepper-Sprayed Him – All While Anthony Was Unarmed
               and On His Knees or Back.

        57.    At 3:35, Dep. Horner then raised his leg and appears to have kicked

  Anthony hard in the back. Anthony started to crawl away, but Dep. Horner got over

  him.21 At 3:37, as evidenced by video and as witnessed by both JC Morgan and Steve

  Amos, Dep. Horner jumped on Anthony’s back.22 By 3:43, Dep. Horner was on



  pistol laying on the ground behind the subject. He stands up and gets back down
  several times. When I saw the pistol, I grabbed it and pulled my taser. I don't
  remember if I pulled my taser and then picked up the gun or vice versa but I do
  remember that once I had the gun, I threw it as far as I could throw it.” The TBI
  reported that a Smith & Wesson pistol with a laser-mounted sight was found in the
  field.
        21
          Dep. Horner implied that Anthony was unfazed by being tased. This is
  nonsense. The effects of being tased may only be localized pain or strong
  involuntary long muscle contractions, based on the mode of use and connectivity of
  the darts. AXON, the maker of Tasers used by many law enforcement agencies,
  suggests various causes for a Taser’s limited effectiveness, including a miss or
  single dart hit, close probe spread, incomplete, broken, or intermittent circuit, loose
  or thick clothing, low nerve or muscle mass, and operator error.
        22
           Dep. Horner’s TBI statement to SA Stoner said, “I then tased the subject
  but it didn't seem to have any effect so I got on top of the subject in an attempt to
  physically control him until my backup arrived.” In his recorded TBI interview with
  SA Stoner, Dep. Horner stated, “The taser didn’t seem to do much. I’m a big dude,
  and I jump on top of him.” He further told SA Stoner, “I’m thinking if the Taser isn’t
  going to do it then maybe I can.” Dep. Horner would have presumably received some
  form of training on Tasers. Dep. Horner would have received this information when
  he was trained on the use of a Taser. From a practical perspective, one needs to be
  within a relative mid-range, as far as 15-25 feet, in order to use a Taser. If a subject
  is too close, then a Taser would not be effective. Notably, the TBI did not measure
  how far away Dep. Horner was from Anthony when he triggered the Taser.
  However, the video appears to show Dep. Horner at a less than optimal distance
  from Anthony to effectively tase him.

                                            -22-


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  Anthony’s back,23 with his left forearm pressed hard against the back of Anthony’s

  neck, Anthony’s face now smashed firmly into the ground. At that instant, Dep. Horner

  grabbed the back of Anthony’s head and smashed it down into the ground.24

        58.    By 4:34, Anthony had slithered free from Dep. Horner’s grasp25 and had

  gotten up, facing Dep. Horner – who was armed with a 9 mm Glock 17, a Taser,

  pepper-spray, and a baton. At 4:40, Dep. Horner extended his right arm and tried to

  use his pepper-spay on Anthony.26 Anthony slapped at the device with what may have

  been Dep. Horner’s flashlight, knocking Dep. Horner’s eyeglasses off.27


        23
         The electrical arcing and sparking noise from the Taser can be heard
  repeatedly, as Dep. Horner continues to try to taze Anthony.
        24
          Dep. Horner allegedly radioed that Anthony was “fighting” him and “had a
  knife.” There is no evidence, video or otherwise, including the TBI evidence
  inventory from the scene, that Anthony had a “knife,” or, for that matter, that he
  “was fighting” with Dep. Horner (at least until Dep. Horner tased him when he was
  on his back, kicked him in the back, jumped on him, and pressed hard on his neck
  and smashed his face into the ground).
        25
           Although the TBI summary indicates that Anthony “threw the officer off his
  back” and Dep. Horner stated, “when I got on the subject’s back to try to control
  him, he threw me off like ‘I was nothing’ and jumped up again,” this is contradicted
  by the video (and common sense). Video appears to show the shirtless Anthony able
  to slide out from underneath Dep. Horner’s grasp. Besides, Dep. Horner
  characterizes himself as “a big dude.” Anthony, weighed less than 160 pounds.
        26
           Dep. Horner told SA Stoner: “I’m up at this point, and I go to pepper spray
  him . . . . I can’t see.”
        27
          According to the TBI, Dep. Horner reported that after he tased Anthony, he
  dropped the Taser and Anthony picked it up and pointed it at him. Yet, Dep. Horner
  also said that he could not see after he lost his eyeglasses and was not sure what
  Anthony had in his hand: “So, now I’m blind. And I remember him pointing
  something at me. I’m not sure exactly what it was. If I want to guess, it was my
  Taser.” Video shows that Anthony never picked up the Taser. He did, however,
  apparently pick up a flashlight, which is shining in his right hand as he ran away.

                                           -23-


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        F.     Anthony Tried to Flee After Being Tased, Kicked, Strong-
               Armed, and Pepper-Sprayed While On the Ground, and Got
               Into the Cruiser, Followed by Dep. Horner.

        59.    By 4:44, Anthony had started to run toward the driveway, where Dep.

  Horner’s cruiser sat unlocked, running, with the key in the ignition, and the lights on.28

        60.    Anthony reached the driver’s side of the cruiser at 4:51. Dep. Horner

  chased him from behind, and when he reached the passenger’s side, again tried to

  pepper-spray Anthony.29 Anthony got into the driver’s seat at 4:57.30

        61.    Putting himself in harm’s way, Dep. Horner jumped into the passenger-

  side of the cruiser as the vehicle began to move toward the backyard.31


        28
          The TBI summary of the interview with Dep. Horner indicates that after
  Anthony slapped at Dep. Horner’s hand as Dep. Horner was trying to pepper-spray
  him, Anthony “had something in his hand.” The TBI stated that Dep. Horner
  thought Anthony may have had his Taser. The video, however, shows something
  very different: after Dep. Horner had tased him, kicked him, jumped on his back,
  strong-armed his neck and smashed his face into the dirt, and pepper-sprayed him,
  Anthony broke free of Dep. Horner, picked up a flashlight – probably Dep. Horner’s
  – and started to run away, not knowing what Dep. Horner planned next.
        29
         Dep. Horner told SA Stoner: “I remember standing on the passenger side,
  pepper spraying him over the car.” The TBI reported that Dep. Horner’s use of
  pepper-spray on Anthony had “no effect.”
        30
           Dep. Horner told SA Stoner: “He takes off towards my car. Somehow he gets
  in it.” Obviously, the cruiser door was unlocked.
        31
           According to the TBI, Dep. Horner stated that there were several items in
  the passenger seat that did not allow him to sit there. Dep. Horner told SA Stoner:
  “I try to squeeze in there to try and stop him.” He eventually got into the seat on his
  knees facing Anthony in the driver’s seat ( “[I was] on my knees, facing him.”). Dep.
  Horner then saw Anthony “put the car in ‘drive’ and take off.” (“I remember him
  putting it in drive.”). Although the TBI report indicates Dep. Horner said he “was
  hanging out of the cruiser” and being “dragged,” this is not supported by the video,
  which does not reveal that any part of Dep. Horner’s body was outside of the cruiser
  at this point. Nor did any witness say anything about Dep. Horner being “dragged.”

                                             -24-


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        62.    In his recorded TBI interview with SA Stoner, Dep. Horner candidly

  admits that his memory of what happened next is “fuzzy.”32 Over the next fifteen (15)

  seconds or so – during which Dep. Horner shoots Anthony multiple times at two

  separate intervals – the cruiser travels for a short distance before careening into thick

  brush, coming to a stop in a wooded area.33

        G.     Dep. Horner Fired and Shot Anthony at Point-Blank Range
               and Without Warning, Just Seconds After He Climbed Into
               the Passenger Side of the Cruiser.

        63.    In his TBI narrative, Dep. Horner attempted to justify his next actions by

  saying, “I knew that I was gonna die right then.” At 5:04, Anthony, shirtless and

  unarmed, was in the driver’s seat. Dep. Horner’s Glock 17 was just inches away from

  the right side of Anthony’s torso.34 At 5:05, Dep. Horner shot Anthony once at point-


        32
          In his recorded TBI interview with SA Stoner, Dep. Horner stated:
  “Somehow he gets in the car and that’s where it gets fuzzy. I remember him getting
  in the car. Me trying to get in the passenger’s seat.”
        33
          Dep. Horner told SA Stoner he had no idea how fast the car was going. He
  did, however, imply that the cruiser was “moving fairly quickly.” This is not so.
  According to the TBI Investigative Report, the cruiser traveled about 654 feet from
  the driveway before coming to rest in the brush. According to the video, the cruiser
  traveled this distance over the span of exactly 23 seconds. A simple mathematical
  calculation would indicate the average speed of the cruiser over that distance was
  about 28 miles per hour. In comparison, elite athletes can run on foot at around 26
  miles per hour. Not surprisingly, Dep. Horner’s airbag failed to deploy at any point,
  even after the cruiser ran through a boundary-fence and came to a stop in the thick
  brush. The gist of this is that the cruiser was not traveling “fast” at all, and Dep.
  Horner’s suggestion to the contrary was simply wrong.
        34
         The TBI reported that there was a “struggle” between the men for the gun,
  but Dep. Horner’s statement does not reference a “struggle” inside the car for the
  gun, nor does the video show Anthony ever in possession or control of Dep. Horner’s
  Glock 17. The TBI’s summation and conclusion, at p. 96, reports that “Zappier
  grabbed the weapon and fought with Horner. Horner regained control of the weapon

                                            -25-


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  blank range, as the muzzle flashes, and caused the teenager’s body to convulse, as he

  screamed, “no, no, no.” Blood splattered on Anthony’s right arm and white shorts, as

  he reached toward Dep. Horner’s gun to shield himself another shot.

        H.     Dep. Horner Got Out of the Cruiser, Withdrew to Safety,
               and Executed the Seriously-Wounded Anthony By Firing
               Two More Shots Into Him From Close Range.

        64.    By then, the cruiser had rolled into thick brush and come to a gentle stop

  just beyond a plowed field.35 At this instant, Dep. Horner, who had backed all the way

  out of the cruiser and stood outside the vehicle, told Anthony to “relax” (just as he had

  done before he tased him earlier). At 5:18, Dep. Horner tried to shoot Anthony again,

  but his gun jammed, prompting him to rack the slide several times to “clear” it, as

  Anthony says “help, help.”36




  and fired three rounds striking Zappier in the head and chest. Zappier immediately
  fell unresponsive and the vehicle came to a stop past a garden/fence row adjacent to
  the yard/field behind . . . .” At most, the video shows Anthony stretching out his
  hand trying to shield himself from gunfire. He never took “control” of Dep. Horner’s
  gun. Nor was there a struggle for it.
        35
         “The car got stopped,” is what Dep. Horner told SA Stoner during his
  recorded interview.
        36
           Dep. Horner told SA Stoner, “I cleared it and went back to trying to get him
  to stop.” But by then, the cruiser had clearly stopped, and by 5:19, Dep. Horner
  stood outside of the cruiser with his gun drawn.

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        65.    Five seconds later, at 5:23, Dep. Horner inexplicably reached back into the

  cruiser, extended his arm toward a gunshot Anthony, Dep. Horner’s hand gripping his

  Glock 17, and at 5:23-25, fired two or three more rapid rounds, striking Anthony two

  more times.37 One of those two shots undoubtedly was a fatal shot by Dep. Horner that

  struck Anthony near the crown of his head, just as his body and head started falling

  toward the passenger seat from the previous gunshot(s). Dep. Horner told SA Stoner

  in his recorded interview, “I think I fired three or four rounds.”38

        66.    At no point in time did Dep. Horner warn Anthony that he was going to

  shoot him . . . either the first time or the second time. Trying to explain during his

  recorded TBI interview with SA Stoner, Dep. Horner said that he did not have

  “anything left on his belt” that he could use against Anthony, so he drew his gun and

  shot him . . . and then he shot him two more times. He never addressed why he failed

  to warn him or why he may have had reason to believe such a warning – which was

  constitutionally required, if feasible – would have been futile.




        37
           Dep. Horner told SA Stoner: “I remember that my gun jammed, I think after
  the first shot. I racked it. I shot two, maybe three more times after that.”
        38
          Dep. Horner told SA Stoner, “I pulled my pistol and fired approximately one
  time when my firearm jammed. I racked the slide (I’m not sure how many times) to
  clear the weapon and then fired several (2 to 3) more shots. I’m not entirely sure
  how many shots.” Dep. Horner told SA Stoner that he shot Anthony the first time
  because he “was afraid” for his life and knew that if he “didn’t stop him from
  continuing to drive,” he “was going to die.” This does not explain why he shot
  Anthony – already gunshot – two more times, especially after the cruiser had
  stopped rolling, and Dep. Horner stood outside in relative safety.

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        67.    At 5:30-35 of the video, a dispatcher announced, “shots fired, shots fired,

  shots fired.”39 At 5:38-31, Dep. Horner’s hand can be seen on video gripping the Glock

  17,40 as he breathed heavily.41

        68.    Deputies Statler D. Collins and Doyle Davis arrived “approx. 30 seconds

  to 1 minute” after the “shots fired” transmission.

        69.    At 6:03, Dep. Horner grabbed the door handle of the driver’s side door,

  hesitated, and at 6:07, opened the door. At about 6:20, Dep. Horner dragged Anthony’s

  body partially out of the cruiser onto the ground. At 6:31, he told other deputies to




        39
          The TBI reported that while Dep. Horner was in the passenger’s side of the
  cruiser, he pulled his service weapon and fired it at Anthony multiple times,
  striking him several times. Of course, it is undisputed Dep. Horner fired his Glock
  17 at Anthony multiple times. However, the report is misleading in that Dep.
  Horner shot Anthony once, got out of the cruiser when the cruiser stopped, and as
  he stood safely outside the cruiser, shot Anthony two more times.
        40
         A Nashville Crime Lab forensic report shows that thirteen (13) rounds
  remained in Dep. Horner’s gun-magazine when it was surrendered. A Glock 17
  magazine would normally hold seventeen (17) rounds, without an extension. Three
  rounds hit Anthony. There is no further forensic analysis regarding the
  whereabouts of the missing fourth bullet. However, as Dep. Horner is doing “chest
  compressions” on Anthony, the video reveals a bullet hole in the driver’s side
  window. This may have been the fourth bullet, or it may have been the bullet that
  hit Anthony’s right maxilla and exited “through the helix and antihelix of the ear.”
        41
          Dep. Horner told SA Stoner that the cruiser was still moving when he fired
  all three shots. This is not true. According to the video, Dep. Horner was standing
  in a stationary position on the ground outside of the passenger’s compartment when
  he fired the final two or three shots.

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  “bring your medic bag with you.” At 6:37, dispatch asked Dep. Horner if he was

  injured, and he responded, “I don’t know yet.” At 6:57, Dep. Horner started tending to

  Anthony, and started what he generously described as “chest compressions.”42

        70.    About thirty seconds later, at 7:25, sirens are heard on the recording, as

  Dep. Horner continued “chest compressions.” At about 8:00, Dep. Horner told another

  deputy who had arrived that “there's a gun somewhere over there in that field,” and

  repeated the statement.

        71.    For more than three minutes, from about 8:20 to 11:45, the video depicts

  Anthony’s lifeless body on the ground outside the cruiser, the right side of his torso and

  white shorts spattered with blood. While the video is taken from Dep. Horner’s vantage

  point, to the left of Anthony’s body, the right side of Anthony’s head and face were

  reflected on the cruiser’s shiny exterior, and revealed Anthony’s now grossly-contorted

  face, where one bullet had pierced his jaw and another had exploded through the top

  of his head into his mouth.43


        42
           Although Dep. Horner told SA Stoner that “once the vehicle stopped, I got
  out of the passenger side and pulled the subject out of the driver’s seat and began
  CPR until backup arrived,” this is not true, as Dep. Horner exited the cruiser only
  after it had come to a complete stop. He then told Anthony to “relax man” and
  pumped two more shots into Anthony, including at least one to his head. Only then
  does Dep. Horner go around to the driver’s side and drag Anthony’s body partially
  out of the cruiser. Although he did begin some rudimentary form of “chest
  compressions,” he by no means ever administered CPR to Anthony.
        43
          Following the shooting, as other law enforcement personnel appear on the
  scene, Dep. Horner made several relevant statements. For example,

               # at 8:58-59, Dep. Horner tells another officer, “my car door
               must have come unlocked when we was fighting. Maybe I
               was close enough to it. I don't know.”

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        I.    Medical Examiner’s Final Autopsy Report: Anthony’s Cause
              of Death Was Multiple Gunshot Wounds.

        72.   On December 16, 2019, William R. Oliver, MD, of the Regional Forensic

  Center – Knox County, presented Anthony’s final autopsy report, indicating that

  Anthony’s cause of death was “multiple gunshot wounds” and classifying the death as

  a “homicide.” The gunshot wounds were identified as follows:

              # indeterminate range gunshot wound to the head (this shot
              entered near the crown, the path was sharply downward,
              and the bullet was retrieved from Anthony’s mouth);

              # indeterminate range gunshot wound of the left maxilla
              (this shot extended through the soft tissues of the face and
              exited through Anthony’s ear); and

              # intermediate range gunshot wound of right chest (this
              shot perforated Anthony’s right lung, inferior vena cava,
              vertebral body, and left lung, causing a massive hemorrhage
              and the bullet was retrieved from Anthony’s left back).

        73.   The autopsy report concluded that “both the wounds to the head and the

  chest would have been rapidly fatal.”




              # at 9:05, Dep. Horner told an officer, “he . . . got in the car.
              I jumped in the passenger’s seat.”

              # at 9:09, Dep. Horner said, “he puts it in ‘drive’ and takes
              off and I’m hanging out of the car” (notably, this remark
              does not support TBI’s finding that Dep. Horner had been
              “dragged,” which is contradicted by video footage).

              # at 12:40, Dep. Horner tells another deputy, “I didn't want
              to shoot him, but damn, I was scared.”

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        J.     The TBI Conducted a Sham Investigation and Implicitly
               Exonerated Dep. Horner, Notwithstanding His Execution
               of an Unarmed Teenager.

        74.    On October 25, 2019, the Third Judicial District Attorney requested the

  assistance of the Tennessee Bureau of Investigation (“TBI”) in the shooting.

        75.    Although TBI Special Agent Brian Fraley (“SA Fraley”) and other agents

  watched the entire video, interviewed Dep. Horner and several witnesses, reviewed

  and inventoried all of the evidence from the scene, the TBI’s final Investigative Report

  was fraught with factual errors and omissions, including, most notably, the following:

               # First, the TBI report stated that Anthony got on the
               ground so that Dep. Horner could “affect his arrest,” but
               Dep. Horner never stated that he was arresting Anthony,
               and never made an effort to handcuff him. He said that he
               only wanted to do a “weapons check,” which was quickly
               agreed to by Anthony.

               # Second, the TBI report stated that Dep. Horner was
               “dragged” by the cruiser being driven by Anthony. [Report,
               at pp. 79, 96]. Yet, at no time did Dep. Horner ever state
               that he was “dragged” by the cruiser. Not a single witness
               referenced him being “dragged.” And the video does not
               show him being “dragged.”

               # Third, the TBI report stated there was a “struggle” over
               Dep. Horner’s duty weapon and implied that Anthony
               actually took Dep. Horner’s 9 mm Glock 17 away from him
               at some point. [Report, at p. 96]. Neither Dep. Horner's
               interview/statement nor the video supports this statement,
               as Anthony never attempted to gain possession of the gun.
               At most, Anthony attempted to shield his face from Dep.
               Horner's gunfire with his right hand.

               # Fourth, the TBI report stated that “at some point after the
               vehicle was in motion, [Dep.] Horner fired his weapon, a
               Glock 9mm, at Zappier multiple times resulting in his
               death.” This is not true. At least three shots were fired by


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               Dep. Horner at two intervals and from two distinct
               positions. One shot was fired at very close range from inside
               the cruiser. Two shots were fired by Dep. Horner not only
               after the cruiser had stopped moving, but after he had
               seriously wounded Anthony with one gunshot, had exited
               the cruiser, and was standing safely outside of it.

        76.    Surprisingly, after collecting voluminous information during its two-

  month long investigation, the TBI report appears to have made no recommendation.

  It simply turned its investigative findings over to a grand jury. There is no indication

  in the TBI file turned over to Plaintiffs’ counsel as to whether the District Attorney

  advocated for charges against Dep. Horner.

        77.    On January 6, 2020, the TBI released its Investigative Report, and

  reported that the investigation was closed.

        78.    By implicitly exonerating Dep. Horner for his use-of-force, the TBI

  disregarded the actual evidence. Put simply, the TBI paid little attention to whether

  Dep. Horner had probable cause to believe Anthony posed an imminent serious

  physical threat before (a) repeatedly tasing Anthony; (b) kicking Anthony, jumping on

  his back, using his forearm against the back of Anthony’s neck smashing his face into

  the ground; (c) repeatedly pepper-spraying Anthony; (d) shooting Anthony the first

  time, from inside the cruiser; and (e) shooting Anthony the second and third times,

  after Dep. Horner had withdrawn to safety outside of the cruiser.




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        79.     Even if Dep. Horner’s actions leading up to the second gunshots fired at

  Anthony were justifiable (they were not), his firing into the cruiser and shooting

  Anthony two more times – as Dep. Horner was safely outside – was not a reasonable

  use of deadly force. At that moment, Anthony did not pose a threat to anyone.

        80.     On January 13, 2020, the TBI’s flawed findings were presented to a

  Hamblen County Grand Jury, which found that Dep. Horner “followed law enforcement

  protocols.”

        K.      Dep. Horner Failed to Warn Anthony Before Shooting Him
                on Both Occasions.

        81.     Under Tennessee v. Garner, 471 U.S. 1, 11-12 (1985), Dep. Horner also had

  a legal obligation to warn Anthony that he was going to fire at him, when feasible,

  under the circumstances. Under the circumstances, it was entirely feasible for Dep.

  Horner to have warned Anthony both times that he was getting ready to shoot him.

  Yet, Dep. Horner failed to warn Anthony before he fired at him on either occasion.

        82.     Dep. Horner could have warned Anthony from the moment he decided to

  jump into passenger’s side of the cruiser. He certainly could have warned Anthony that

  he was going to fire the second, third, and fourth times after Dep. Horner had gotten

  out of the cruiser, as the cruiser had come to a stop in the thick brush, and Anthony

  had been seriously-wounded at that point. Of course, there was no reason to shoot

  Anthony the first time, much less the second time, or the third time. When he exited

  the cruiser, Dep. Horner was out of any danger, if he was ever in danger to begin with.




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                             V. WAIVER OF IMMUNITY

        83.    The County has waived immunity for its own negligence and for its

  employees, misconduct of officers acting under color of law, and for the negligence of

  deputies, as set out in Tenn. Code Ann. § 29-20-305. There is no immunity for

  individuals for criminal conduct, or conduct which is willful or malicious.

                               VI. CLAIMS FOR RELIEF

                                      COUNT ONE

                                  EXCESSIVE FORCE

          Violation of Civil Rights under Color of Law, 42 U.S.C. §§ 1983
              and 1988, Under Fourth and Fourteenth Amendments

                         (Against Dep. Horner, Individually)

        84.    The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.

                               Fatally Shooting Anthony

        85.    Dep. Horner used excessive force when he shot and killed Anthony. His

  unjustified shooting deprived Anthony of his fundamental interest in life and his right

  to be secure in his person against unreasonable searches and seizures as guaranteed

  to him under the Fourth Amendment to the United States Constitution, as applied to

  state actors by the Fourteenth Amendment.

        86.    Lethal force, such as that used by Dep. Horner against Anthony, is only

  authorized, in accordance to Tenn. Code Ann. § 39-11-620, to effect an arrest only if all

  other reasonable means of apprehension have been exhausted or are unavailable, and



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  where feasible, the officer has given notice of the officer’s identity as such and given a

  warning that lethal force may be used unless resistance or flight ceases, and:

                A.     The officer has probable cause to believe the
                       individual to be arrested has committed a felony
                       involving the infliction or threatened infliction of
                       serious bodily injury; or

                B.     The officer has probable cause to believe that the
                       individual to be arrested poses a threat of serious
                       bodily injury, either to the officer or to others unless
                       immediately apprehended.

         87.    When Dep. Horner fired a single round at Anthony from his Glock 17, he

  had not yet exhausted all other reasonable means of apprehension, including many

  force-options available to officers when a subject is “passively resistant, active resistant

  and/or actively aggressive.”

         88.    Regardless of whether Dep. Horner was justified in shooting Anthony the

  first time (and he was not), video evidence demonstrates that at the moment Dep.

  Horner shot Anthony the second and third times, he lacked a reasonable belief or

  probable cause to believe Anthony posed a threat of serious bodily injury. He also

  lacked reasonable grounds to believe Anthony posed an imminent real danger of death

  or serious bodily injury.

         89.    When Dep. Horner fired all three shots, Anthony was unarmed. When

  Dep. Horner fired his last two shots, he had withdrawn to safety outside of the cruiser

  and Anthony was suffering from a gunshot wound.

         90.    No reasonable officer under the circumstances would have believed that

  the use of deadly force against Anthony – on both occasions – was lawful. Dep. Horner


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  thus lacked probable cause or reasonable suspicion to believe Anthony posed an

  imminent danger of death or serious physical harm to him (or to others). Even if some

  force were constitutionally reasonable (it was not), the degree of force used – shooting

  Anthony three times, twice from outside the cruiser – was clearly excessive and

  unconstitutionally disproportionate to the circumstances.

        91.    In addition to unreasonably using deadly force against Anthony, Dep,

  Horner also failed to warn Anthony that he was going to shoot to kill him on two

  separate occasions. His failure was striking, even making allowance for the fact that

  officers are often forced to make split-second judgments in circumstances that are

  tense, uncertain, and rapidly evolving, as the Supreme Court emphasized 35 years ago

  the importance of warnings when feasible before using lethal force. See Tennessee v.

  Garner, 471 U.S. 1, 11-12 (1985). Nor can Dep. Horner’s omission of any meaningful

  warning in this instance be excused by inferring that the circumstances were too

  “tense, uncertain, and rapidly evolving” to undercut foundational principles of law

  enforcement conduct.

        92.    Dep. Horner’s use of deadly force in shooting Anthony was not legally

  justified or objectively reasonable and violated Anthony’s rights to be free of

  unreasonable seizure and use of excessive force under the Fourth Amendment. E.g.,

  Tennessee v. Garner, 471 U.S. 1, 12-12, 21(1985); Graham v. O’Connor, 490 U.S. 386,

  396 (1989). This right to be free of the use of objectively unreasonable deadly force was

  also clearly established at the time and had been so for decades.




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                Tasing, Pepper-Spraying, Kicking, Strong-Arming,
                     and Jumping On Top of Anthony’s Back

        93.    Part of the defensive tactics for an officer is to diffuse a situation from the

  outset until backup arrives. The last thing an officer should want to do is go “hands-on”

  with someone. Yet, Dep. Horner quickly decided to do so with Anthony, unnecessarily

  and unreasonably escalating the situation into a physical confrontation.

        94.    Dep. Horner tased Anthony multiple times as Anthony was complying

  with his command to “get on the ground.” Anthony was unarmed, on his back and on

  the ground, begging Dep. Horner to help him when Dep. Horner tased him.

        95.    Dep. Horner kicked Anthony hard in the back as he was unarmed and on

  his knees. He then jumped on Anthony’s back, put his forearm against the back of his

  neck, and smashed his face into the ground. After Anthony was able to free himself,

  Dep. Horner then pepper-sprayed him.

        96.    Anthony died from multiple gunshot wounds. But prior to this, Dep.

  Horner’s actions and omissions, including his unreasonable and unjustified use of non-

  deadly and deadly force against Anthony, injured Anthony and the gunshots

  proximately caused his death. His actions and omissions deprived Anthony of his

  fundamental interest in life, in violation of the United States Constitution. As a result,

  Dep. Horner is liable for Anthony’s death.

        97.    Specifically, Dep. Horner’s violations of Anthony’s Fourth Amendment

  rights directly and proximately caused Anthony to suffer (a) excruciating physical pain

  and suffering before his death; (b) severe emotional suffering and mental anguish,



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  despair, and hopelessness before his death; (c) lost earnings and/or loss of earning

  capacity in the future based on the probable duration of his life if his death had not

  occurred; (d) loss of the enjoyment of the remainder of the probable duration of his life

  if his death had not occurred; (e) funeral and burial expenses, all of which are

  recoverable by Anthony’s estate, through Plaintiffs; and (f) the loss of society and

  companionship for Anthony’s parents.

        98.     Furthermore, the conduct of Dep. Horner was also willful, wanton,

  malicious, deliberately indifferent, and done with reckless disregard for Anthony’s

  federally-protected rights, justifying an award of punitive damages against him so as

  to prevent a recurrence of such misconduct and to deter others from engaging in

  similar misconduct. and therefore warrants the imposition of punitive damages.

        99.     Plaintiffs sue Dep. Horner for violating Anthony’s constitutional rights,

  and seeks any and all damages allowable, attorney’s fees pursuant to 42 U.S.C. § 1988,

  costs, and discretionary costs.

                                      COUNT TWO

                       FAILURE TO TRAIN AND SUPERVISE

                  Violation of Civil Rights under Color of Law,
    42 U.S.C. §§ 1983 and 1988 under Fourth and Fourteenth Amendments

              (Against the County and Sheriff Jarnagin, Individually)

        100.    The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.




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        101.   As Sheriff, Sheriff Jarnagin has final authority and makes policy for the

  County and HCSO in establishing and implementing policies and/or procedures with

  respect to the use of force by deputies against citizens (including both less-lethal and

  deadly force) and the legal limits of such activities for deputies employed by the HCSO.

        102.   Here, the unconstitutional consequences of failing to train officers in the

  reasonable and justifiable use of deadly force are so patently obvious that the County

  and Sheriff Jarnagin are liable under § 1983. Dep. Horner’s actions –

               # the unnecessary tasing of and physical attack on Anthony
               that escalated the confrontation;

               # the complete failure to utilize the force-continuum in
               choosing which methods of force to utilize on Anthony;

               # the failure to effectively use non-deadly or even less-
               deadly force; and

               # the unnecessary and unreasonable use of deadly force
               without warning against Anthony –

  demonstrate such obvious and egregious training and supervisory deficiencies to make

  HCSO’s use-of-force training constitutionally defective.

        103.   Upon information and belief, as final policymaker for the HCSO, Sheriff

  Jarnagin established and implemented policies and procedures, and/or ratified

  pre-existing policies and procedures, regarding the use of force by HCSO deputies

  against citizens (including less-lethal and deadly force), which policies and procedures

  themselves violate federal constitutional law.

        104.   Even if the policies and procedures regarding the use of force by deputies

  against citizens (including both less-lethal and deadly force) do not themselves violate


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  federal law, there is and was – at the time of the deadly encounter between Dep.

  Horner and Anthony – a persistent and widespread practice among HCSO deputies of

  using excessive and/or deadly force on a subject when it is unnecessary and objectively

  unreasonable as a matter of law to do so, amounting to a custom or course of conduct

  so widespread as to become informal HCSO policy, acquiring the force of law.

        105.   And even if the formal policies and procedures of the HCSO are not

  themselves unlawful, alternatively, the operation of such policies and procedures “on

  the street” reflects a standard operating procedure, and a widespread and persistent

  practice, of HCSO deputies violating citizens’ federally-protected rights as identified

  herein.

        106.   At all times material, Sheriff Jarnagin and the County have known or

  have had constructive knowledge of this widespread and persistent practice of

  violations, but have refused or failed to take measures reasonably necessary to prevent

  or minimize such violations.

        107.   The response by Sheriff Jarnagin and the County to these constitutional

  violations has been inadequate. These include but are not limited to:

               #      the lack of or inadequate mechanism for identifying
                      or tracking unconstitutional uses of force;

               #      the lack of or inadequate documentation of individual
                      uses of force, and the justification for such;

               #      the lack of or inadequate supervisory review of
                      documentation of individual uses of force and the
                      justification for such;




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               #     the lack of or inadequate mechanism for monitoring
                     or tracking uses of force;

               #     the lack of unbiased investigation of complaints of
                     improper uses of force;

               #     the lack of or inadequate investigation of complaints
                     of improper uses of force;

               #     the lack of or inadequate training regarding the legal
                     limitations on the permissible use of force, both
                     less-lethal and deadly force; and

               #     the lack of or inadequate discipline of individual
                     officers found to have committed unlawful uses of
                     force.

        108.   Violations of citizens’ constitutional rights of the type inflicted on

  Anthony, specifically the use of excessive and deadly force, are the known or obvious

  consequences either of formal County or HCSO policies and procedures that violate

  federal law, or of a widespread and persistent practice and custom of such violations

  to which Sheriff Jarnagin and the County have acquiesced or have tacitly authorized.

  The actions and omissions of Sheriff Jarnagin and the County, as identified herein,

  reflect deliberate indifference on the part of Sheriff Jarnagin and the County to such

  known or obvious consequences of their actions and omissions, as resulted in the

  deprivation of Anthony’s federally-protected rights.

        109.   Such widespread and persistent violations of citizens’ constitutional

  rights, as condoned by Sheriff Jarnagin and the County, were the moving force behind

  – and directly and proximately caused – the violations of Anthony’s constitutional

  rights and his death; and render Sheriff Jarnagin and the County liable.



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        110.   The County, HCSO, and Sheriff Jarnagin failed to train and supervise

  their deputies to avoid using excessive force, including less-lethal and deadly force,

  failed to meaningfully investigate allegations of such force, and attempted to conceal

  unconstitutional conduct by failing to conduct transparent investigations, and by

  unreasonably exonerating officers, like Dep. Horner, through sham investigations or

  no investigations at all, rather than searching for justice.

        111.   The County, HCSO, and Sheriff Jarnagin had a duty of care to ensure

  that HCSO officers were properly trained in the appropriate procedure for using deadly

  force against citizens. This duty extends to ensuring that HCSO officers were properly

  trained concerning the limits of their authority to use deadly force.

        112.   The County, HCSO, and Sheriff Jarnagin had a duty to properly supervise

  HCSO officers and ensure HCSO supervisory officers did not condone the unnecessary

  uses of force, including deadly force. This is especially true when there is (a) a

  “likelihood that [a] situation will recur” (b) with such a “high degree of predictability”

  that “an officer lacking specific tools to handle that situation will violate citizens’

  rights.” Deputies must have specific training to be equipped to properly react to

  situations, as in this case, without unnecessarily escalating them to force situations.

        113.   In this case, Dep. Horner lacked the tools that the County, HCSO, and

  Sheriff Jarnagin should have provided him to safely handle the situation with

  Anthony. Consequently, he unnecessarily escalated the level of force and needlessly

  executing a citizen, over what began as a routine investigation of a misdemeanor

  offense.


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        114.   By not conducting a meaningful investigation of Dep. Horner, especially

  after the TBI botched its investigated of his actions, Sheriff Jarnagin let it be known

  that he condoned Dep. Horner’s unreasonable use-of-deadly force.

        115.   By ratifying Dep. Horner’s unreasonable use-of-force and deadly force,

  Sheriff Jarnagin knowingly acquiesced in the unconstitutional conduct of Dep. Horner

  through the execution of his job function, rendering the County liable to Plaintiffs.

        116.   The County, HCSO, and Sheriff Jarnagin’s failure to develop and

  promulgate lawful policies outlining the guidelines for such situations and the

  appropriate use-of-force and to properly train its officers and supervisors to follow such

  guidelines constitute deliberate indifference to the constitutional rights of citizens.

        117.   The failure of Sheriff Jarnagin – and unknown supervisors – to recognize

  or appreciate the gravity of Dep. Horner’s actions imply that they found no wrong in

  his conduct, all but “green lighting” Fourth Amendment violations by HCSO deputies.

        118.   Here, Dep. Horner believed that his actions – including executing the

  unarmed Anthony with two unnecessary gunshots – would not be properly monitored

  or corrected by supervisory officers and that his misconduct would be tolerated and

  accepted. His belief was prescient.

        119.   As a direct and proximate result of the actions/omissions of the County,

  HCSO, and Sheriff Jarnagin causing the violation of his Fourth Amendment rights,

  Anthony suffered (a) excruciating physical pain and suffering before his death; (b)

  severe emotional suffering and mental anguish, despair, and hopelessness before his

  death; (c) lost earnings and/or loss of earning capacity in the future based on the


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  probable duration of his life if his death had not occurred; (d) loss of the enjoyment of

  the remainder of the probable duration of his life if his death had not occurred; (e)

  funeral and burial expenses, all of which are recoverable by Anthony’s Estate.

  Plaintiffs also seek recovery for having lost Anthony’s society and companionship.

        120.   Plaintiffs sue the County and Sheriff Jarnagin for violating Anthony’s

  constitutional rights, and seeks any and all damages allowable to them, both

  individually and as personal representatives of Anthony’s Estate, as well as attorney’s

  fees pursuant to 42 U.S.C. § 1988, costs, and discretionary costs.

                                     COUNT THREE

                                  WRONGFUL DEATH

                        TENN. CODE ANN. §§ 20-5-106 et seq.

               (Against the County, Sheriff Jarnagin, Individually,
                          and Dep. Horner, Individually)

        121.   The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.

        122.   Plaintiffs bring this action as the Court-appointed Administrators and

  Personal Representatives of the Estate of Anthony Zappier, as authorized by Tenn.

  Code Ann. §§ 20-5-106 et seq., Tennessee’s Wrongful Death Statute, and as parents

  seeking damages for loss of their son’s consortium and society. Anthony was not

  married, did not have a surviving spouse, and had no children.

        123.   Defendants owed a duty of due care to Anthony at all times relevant to

  this action, and violated that duty in the manner alleged herein.



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        124.   Dep. Horner knew that Anthony was unarmed when he fired at him on

  two separate occasions, resulting in multiple gunshot wounds that resulted in

  Anthony’s death. Anthony posed no threat to Dep. Horner’s safety – imminent or

  otherwise – at that moment.

        125.   Dep. Horner’s second, third, and fourth rounds of gunshots were directed

  at Anthony inside the stopped cruiser after Anthony was seriously-wounded and after

  Dep. Horner had withdrawn to safety outside of the cruiser, resembling nothing short

  of an execution that was subsequently directly or implicitly sanctioned by the TBI,

  Sheriff Jarnagin, and the County.

        126.   The foregoing acts of Dep. Horner proximately caused the fatal injuries

  to Anthony, entitling Plaintiffs to recover compensatory damages from Defendants for

  such damages. Said damages include, but are not limited to, the tremendous pain and

  suffering Anthony had before his death, Anthony’s lost wages, funeral, and/or related

  burial expenses, and loss of society and companionship for Anthony’s parents.

        127.   The intentional and negligent actions of Defendants were performed

  knowingly, wantonly and with gross disregard for the safety and welfare of Anthony.

        128.   Based upon the foregoing allegations of this Complaint, Plaintiffs are

  entitled to recover a judgment in the amount of Ten-Million Dollars ($10,000,000) in

  compensatory damages and Fifteen Million Dollars ($15,000,000) in punitive damages.




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                                     COUNT FOUR

                                        BATTERY

               (Against the County and Dep. Horner, Individually)

        129.   The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.

        130.   The fatal shooting of Anthony by Dep. Horner, acting under color of law

  and in the course and scope of his employment for the County and HCSO, constitutes

  a battery.

        131.   As a direct and proximate result of the actions of Dep. Horner, Anthony

  suffered severe pain and suffering, and died from his injuries. Dep. Horner had no legal

  justification for using force – especially deadly force – against Anthony, and Dep.

  Horner’s use of such force while carrying out his duties was unreasonable under the

  circumstances. As such, Dep. Horner’s tasing, kicking, strong-arming, and shooting of

  Anthony all constituted battery under Tennessee law.

        132.   The foregoing acts of Dep. Horner proximately caused the injuries to

  Anthony, including his death, entitling Plaintiffs to recover compensatory damages

  from the County and Dep. Horner for such damages. Said damages include, but are not

  limited to, the tremendous pain and suffering Anthony suffered before his death,

  Anthony’s lost wages, funeral, and/or related burial expenses, and Anthony’s parents’

  having lost their society and companionship.




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        133.     The conduct of Dep. Horner was malicious, wanton, oppressive, and

  accomplished with a conscious disregard for Anthony’s rights, entitling Plaintiffs to an

  award of punitive damages.

                                      COUNT FIVE

                                      NEGLIGENCE

                 (Against the County, Sheriff Jarnagin, Individually,
                            and Dep. Horner, Individually)

        134.     The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.

        135.     Defendants had a duty to Anthony to act with ordinary care and prudence

  so as not to cause him harm or injury.

        136.     The actions of Defendants were negligent and reckless, including but not

  limited to, the use-of-force against Anthony, which culminated in his death.

        137.     Defendants owed a duty to the public in general and specifically to

  Anthony to use due care in fulfilling their duties and to ensure their conduct conformed

  to applicable laws, policies, procedures, and generally accepted law enforcement

  standards. As described above, Defendants breached their duties of due care and were

  negligent, grossly negligent, reckless, willful, and wanton in all of the foregoing

  particulars.

        138.     Pursuant to the Tennessee Governmental Tort Liability Act, these

  Defendants also owed Anthony a duty of care to be free from excessive force and to

  protect him from injury.



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        139.   As a direct and proximate result of Defendants’ conduct, as alleged above,

  and other undiscovered negligent conduct, Anthony was caused to suffer severe pain

  and suffering and death.

        140.   The foregoing acts of Dep. Horner proximately caused the fatal injuries

  to Anthony, entitling Plaintiffs to recover compensatory damages from Defendants for

  such damages. Said damages include, but are not limited to, the tremendous pain and

  suffering Anthony suffered before his death, his lost wages, funeral, and/or related

  burial expenses, and his parents’ having lost Anthony’s society and companionship.

                                       COUNT SIX

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                         (Against Dep. Horner, Individually)

        141.   The allegations of the preceding paragraphs of this Complaint are hereby

  incorporated by reference, as if set forth verbatim.

        142.   The actions alleged herein against the Dep. Horner were outrageous and

  utterly intolerable in a civilized society, and were done with a reckless disregard of the

  probability of causing emotional distress.

        143.   From almost the moment Dep. Horner encountered Anthony, he

  unnecessarily and unreasonably escalated the situation – creating a serious risk of

  harm or death for Anthony which culminated in Dep. Horner fatally shooting Anthony,

  in nothing short of an execution.

        144.   Dep. Horner’s conduct was perpetrated with the intent to inflict, or with

  reckless disregard of the probability of inflicting, mental anguish on Anthony.


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            145.   The aforementioned acts were done knowingly, intentionally, and

  maliciously, for the purpose of oppression and inflicting injury upon Anthony, and in

  reckless, wanton and callous disregard of his safety, security, and civil rights. By

  reason thereof, Plaintiffs claim compensatory damages of $10,000,000 as well as

  punitive damages of $15,000,000 (or in an amount to be proven at trial) sufficient to

  punish and deter Dep. Horner and others in similarly situated from engaging in

  similar conduct in the future.

            146.   The County is also liable to Plaintiffs under Tenn. Code Ann. § 8-8-301,

  et seq.

                                    VII. JURY DEMAND

            147.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

  trial by jury of all of the claims asserted in this Complaint so triable.



                                VIII. PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray:

            A.     That Defendants be served with a copy of this Complaint and be required

  to answer;

            B.     That the Court find that Defendants have engaged in the conduct and

  statutory and common law violations alleged herein;




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        C.     That Plaintiffs, as personal representatives of Anthony’s Estate, and

  individually, where appropriate, be awarded such damages as will fully compensate

  the Estate and Plaintiffs for all injuries proximately caused by Defendants’ actions and

  that a judgment in Plaintiffs’ favor be entered;

        D.     That Plaintiffs, as personal representatives of Anthony’s Estate, and

  individually, where appropriate, be awarded $10,000,000 in compensatory damages;

        E.     That Plaintiffs, as personal representatives of Anthony’s Estate, be

  awarded $15,000,000 in punitive damages;

        F.     That Plaintiffs have and recover costs for this suit, including reasonable

  attorneys’ fees and discretionary costs, as provided by law; and

        G.     That Plaintiffs be awarded pre-judgment and post-judgment interest as

  permitted by common law or applicable statute and such other or further relief as may

  be just and proper.




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       Respectfully submitted, this 26th day of October, 2020.


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